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                                            1101
                        Count 8: Health Care Fraud

 Defendant Roethle Orders Six Orthotic Braces for Patient B.D. on 11/30/18




 DocuSign Record: Roethle signed 316 times over 441 pages in approx. 7 minutes




         Medicare Claim Submitted Based on Defendant Roethle’s Orders
Count       Patient      Date of  Doctor Orthotic Braces Amount         Submitted By / Paid
                          Claim                                Paid               To
  8      Betty Dorman   12/4/2018 Scott   1 shoulder, 1      $2,477.64 Integrity Medical (Cape
         (B.D.)                   Roethle wrist, 2 knees, 2            Girardeau, MO)
                                          suspension sleeves
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Defendant Roethle’s email on 12/6/18, admitting that
    “very few people qualify for shoulder braces”
